           Case 3:04-cr-05516-BHS          Document 130     Filed 10/03/05    Page 1 of 4



1                                                            Judge Burgess
2

3

4

5

6

7
                                UNITED STATES DISTRICT COURT
8                              WESTERN DISTRICT OF WASHINGTON
                                         AT TACOMA
9

10   UNITED STATES OF AMERICA,                          )
                                                        )   NO. CR04-5516FDB
11                                Plaintiff,            )
                                                        )   ORDER AUTHORIZING
12                        v.                            )   INTERLOCUTORY SALE OF
                                                        )   REAL PROPERTY LOCATED AT
13   MICHAEL STEFFEN                                    )   540 3RD AVENUE, FOX ISLAND
                                                        )   WASHINGTON
14                                                      )
                                  Defendant.            )
15                                                      )
                                                        )
16                                                      )
                                                        )
17                                                      )
18
            This matter having come before the Court upon the stipulated motion of the
19
     parties, the United States of America, plaintiff, Michael Steffen, defendant, together with
20
     Third Party Petitioners, Countrywide Home Loans (“Countrywide”) and William and
21
     Beverly Steffen, and the Court having considered the motion, the positions of the parties
22
     and the files and records herein, now therefore,
23
            IT IS HEREBY ORDERED, ADJUDGED AND DECREED, that:
24
            1. The Motion for an Interlocutory Sale of the Real Property, located at 540 3rd
25
     Avenue, Fox Island, Washington, (Fox Island Property) is GRANTED; said real
26
     property is more specifically described as:
27
                   PARCEL A: Beginning at the Northwest corner of Lot 4, Section 35,
28                 Township 21 North, Range 1 East of the W.M., in Pierce County,
     ORDER AUTHORIZING INTERLOCUTORY SALE — 1
     (540 3rd Ave, Fox Island)                                                   UNITED STATES ATTORNEY
                                                                                  601 UNION STREET, SUITE 5100
     CR04-5516FDB                                                               SEATTLE, WASHINGTON 98101-3903
                                                                                         (206) 553-7970
           Case 3:04-cr-05516-BHS        Document 130       Filed 10/03/05     Page 2 of 4



1                  Washington; thence South along the West line of said Lot 4 to
                   intersection with meander line of said lot; thence North 31°10' West
2                  along the meander line, 182 feet to the true point of beginning;
                   thence continue North 31°10' West along the meander line, 65.66
3                  feet; thence East 128.17 feet to the West line of said Lot 4; thence
                   North along the West line of said lot to a point 513.42 feet South of
4                  said Northwest corner of Lot 4; thence East to the Westerly line of
                   Dreazy County Road; thence Southeasterly along said Westerly line
5                  to a point North 70°30' East of the true point of beginning; thence
                   South 70°30' West to the true point of beginning.
6
                   PARCEL B: Beginning at a point 513.42 feet South of the Northeast
7                  corner of Government Lot 4, Section 34, Township 21 North, Range
                   1 East of the W.M., in Pierce County, Washington, on Fox Island;
8                  thence South and parallel to the East line of said Section 34, 85.57
                   feet; thence West at right angle to said East line, 128.17 feet to the
9                  meander line of Carr’s Inlet; thence Northwesterly along said
                   meander line, 100 feet; thence East 179.92 feet to the point of
10                 beginning.
11                 TOGETHER WITH an undivided one-eighth interest in the
                   following described property:
12                 Beginning at a point 20 feet West and 33.11 feet North of the
                   Northeast corner of Government Lot 4 in said Section 34; thence
13                 West 150 feet; thence South parallel to the East line of said Section
                   34, 100 feet; thence East parallel to the North line of said Lot 4, 150
14                 feet; thence North 100 feet to the point of beginning.
                   Situate in the County of Pierce, State of Washington
15                 Tax Parcel No. 0121353006
16          2. The interlocutory sale is necessary to prevent undue waste and/or deterioration
17   of the property and to minimize costs of maintenance and preservation;
18          3. In furtherance of the interlocutory sale, the United States Marshals Service
19   shall, at its expense, market and sell the Fox Island Property; the property may be listed
20   with a licensed real estate broker selected by the United States Marshals Service; any
21   offer received to purchase the Fox Island Property shall comply with, and conform to, the
22   terms of the Settlement Agreement entered into between the above named Third Party
23   Petitioners and the United States and filed with the Court. The expense of any
24   improvements, repairs, or expenditures made to correct permitting deficiencies, made
25   prior to closing of any sale occuring pursuant to this order, shall be borne by the United
26   States Marshals Service, except to the extent that existing water damage to the hardwood
27   floor in the kitchen/dining area may be covered by Countrywide’s insurance.
28          4. The purchase price of the Fox Island property shall be all cash at closing;
     ORDER AUTHORIZING INTERLOCUTORY SALE — 2
     (540 3rd Ave, Fox Island)                                                    UNITED STATES ATTORNEY
                                                                                   601 UNION STREET, SUITE 5100
     CR04-5516FDB                                                                SEATTLE, WASHINGTON 98101-3903
                                                                                          (206) 553-7970
            Case 3:04-cr-05516-BHS       Document 130       Filed 10/03/05     Page 3 of 4



1           5. The net proceeds of the sale of the Fox Island Property will include all money
2    realized from the sale of the property, except for the following obligations, which shall be
3    paid by the escrow directly from the gross proceeds of the sale, at the time of closing of
4    the sale:
5                  a. Real estate commissions, if any;
6                  b. Real property taxes which are due and owing;
7                  c. The principal and interest due to Countrywide in satisfaction of its lien
8                  interest as defined in paragraph 2 of the Settlement Agreement filed herein;
9                  d. Other closing costs incidental to the sale of the Fox Island Property,
10                 including but not limited to escrow fees and document recording fees.
11          7. In the event that a sale of the Fox Island Property closes before the entry of a
12   Final Order of Forfeiture herein, the net proceeds realized from the sale of the Fox Island
13   Property, as defined above, shall be substituted for the Fox Island Property as an asset
14   subject to forfeiture in this criminal forfeiture proceeding. In such event, the net proceeds
15   from the sale, as defined above, shall be paid into the United States Marshals Service
16   Seized Asset Deposit Fund pending resolution of this criminal case and this criminal
17   forfeiture ancillary proceeding.
18   //
19   //
20   //
21   //
22   //
23   //
24   //
25   //
26   //
27   //
28

     ORDER AUTHORIZING INTERLOCUTORY SALE — 3
     (540 3rd Ave, Fox Island)                                                    UNITED STATES ATTORNEY
                                                                                   601 UNION STREET, SUITE 5100
     CR04-5516FDB                                                                SEATTLE, WASHINGTON 98101-3903
                                                                                          (206) 553-7970
           Case 3:04-cr-05516-BHS        Document 130      Filed 10/03/05    Page 4 of 4



1    In such case, the Final Order of Forfeiture, subsequently entered as to such net proceeds,
2    shall provide for any payment of the alleged Third Party Interests of petitioners William
3    and Beverly Steffen which may be due in accordance with the terms of the Settlement
4    Agreement filed herein between William and Beverly Steffen and the United States.
5           DATED this 3rd day of October, 2005.
6

7

8




                                               A
9

10

11
                                               FRANKLIN D. BURGESS
12
                                               UNITED STATES DISTRICT JUDGE
13
     Presented by:
14

15
     s/Peter O. Mueller                        s/Zenon P. Olbertz
     Peter O. Mueller                          Zenon P. Olbertz
16   Assistant United States Attorney          Attorney for William and Beverly Steffen
17

18

19   s/Robert W. Sargeant                s/Brett A. Purtzer
     Robert W. Sargeant                  Brett A. Purtzer
20   Attorney for Countrywide Home Loans Attorney for Michael Steffen
21

22

23

24

25

26

27

28

     ORDER AUTHORIZING INTERLOCUTORY SALE — 4
     (540 3rd Ave, Fox Island)                                                   UNITED STATES ATTORNEY
                                                                                  601 UNION STREET, SUITE 5100
     CR04-5516FDB                                                               SEATTLE, WASHINGTON 98101-3903
                                                                                         (206) 553-7970
